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UN|TED STATES OF AN|ER|CA

  

DOSEV NEWTON
Sarah llllerritt, Retained
Defense Attorney
3109 Kieh| Avenue
Sherwood, AR 72120

 

*C*O*R*R*E*C*T*E*D* JUDG|V|ENT lN A CR||V|INAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 09, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section MMM§ Offense Number(s)
§Lcluge_d
18 U.S.C. § 371 Conspiracy to Defraud the United 10/26/1998 1

States

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the l\llandatory
Victims Restitution Act of 1996

Counts 2-7 are dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 431 -13-9753 Date of imposition of Sentence:
Defendant’s Date of Birth: 9/10/1965 lVlay 09, 2005
Dett’s U.S. l\/larshal No.: 19882-076 Date of Restitution l\/lodification:

Ju|y 21 , 2005

Defendant’s lVlai|ing Address:
208 Missouri Street
Pine B|uff, AH 71601

 

J. DAN|EL BREEN
U |TED STATES DISTFi|CT JUDGE

'l_ , 2005

Th\§ document entered on the docket shee§n compliance

with sine 55 and/or szlb) rsch on 57 / ’06`

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Case No: 2:04CR20390-02-B Defendant Narne: Dosey NEWTON Page 2 of 6
|NIPR|SONIV|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 5 Months.

The Court recommends to the Bureau of Prisons: placement at Forrest City,
Arkansas.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States i\/|arshal.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

Deputy U.S. l\/|arshal

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SUPEF{V|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDIT|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall Work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;The defendant shai| not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

B. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

12. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal l\/lonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Participate in the Home Detention program for a period of 3 Months. During this time,
defendant Will remain at defendant's place of residence except for employment and other activities
approved in advance by the Defendant’s Probation Officer. Defendant will be subject to the
standard conditions of Home Detention adopted for use in the Western District of Tennessee, which
may include the requirement to wear an electronic monitoring device and to follow electronic
monitoring procedures specified by the Probation Officer.

2. Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

3. lviake full financial disclosure to the probation office.
4. Provide third party risk notification as directed by the probation office.
5. Do not acquire any new financial obligations without the permission of the Probation Officer.

6. Cooperate with DNA collection as directed by the Probation Officer.

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** CR|N||NAL MONETARY PENALT|ES **

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Schedule of Payments may be subject to
penalties for defauit and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
** $100.00 $32,000.00

The Special Assessment shall be due immediately
FINE
No fine imposed.
REST|TUT|ON

Fiestitution in the amount of $32,000.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Total Amount of Order
Name of Pa)£ee Amount Ftestitution Ordered or
of Loss Percentage
of Payment

First Tennessee Bank, $32,000.00 $32,000.00
Attn: Clay Barnett

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unlessl
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fteasons page.

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SCHEDULE OF PAYNiENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Speciai instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
of his gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment A|| criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility F’rograml are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 95 in
case 2:04-CR-20390 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Sara F. Merritt

LAW OFFICE OF SARA F. MERRITT
3109 Kiehl Ave.

Shervvood7 AR 72120

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

